                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION
                               No. 5:25-CV-000430M

 Angie Kieliszewski, et al.,

                        Plaintiffs,

 v.                                                                    Order

 Relias, LLC,

                        Defendant.


       This matter comes before the court on Defendant Relias’s motion for additional time. D.E.

11. Relias seeks an extension of time, until April 28, 2025, to file a response to the Amended

Complaint. Id. Should it file a motion to dismiss, the motion also allows Plaintiffs 30 days to file

an opposing memorandum. Id. And Relias would have 21 days to file a reply. Id.

       The court will allow the motion, in part. Relias may file its response to the Amended

Complaint no later than Monday, April 8, 2025.

       If a motion to dismiss is filed, the Local Civil Rules will govern the timeframe for responses

and replies to such a motion. See Local Civil Rule 7.1(f),(g).




Dated: March 4, 2025.

                                              ROBERT T. NUMBERS, II
                                              UNITED STATES MAGISTRATE JUDGE




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